Case 1:18-cr-00204-NGG-VMS Document 1020 Filed 03/23/21 Page 1 of 2 PageID #: 19232

                                                       U.S. Department of Justice


                                                       United States Attorney
                                                       Eastern District of New York
   EAG:TH                                              271 Cadman Plaza East
   F. #2017R01840                                      Brooklyn, New York 11201



                                                       March 23, 2021


   By ECF

   The Honorable Nicholas G. Garaufis
   United States District Judge
   United States District Court
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, New York 11201

                 Re:      United States v. Keith Raniere, et al.
                          Criminal Docket No. 18-204 (S-2) (NGG)

   Dear Judge Garaufis:

                  The government respectfully submits this letter to request (i) that the
   defendant Keith Raniere’s response to the government’s restitution submission (ECF Docket
   Entry No. 1018 (the “Raniere Filing”)) remain under seal and (ii) that the Court remind
   counsel for Raniere of their continuing obligations to exercise great care to ensure that future
   filings containing sensitive victim information are appropriately filed under seal and impose
   sanctions in the event of any future violations.

                   As the Court is aware, the Raniere Filing was filed publicly after midnight
   today, March 23, 2021. The Raniere Filing contains the full names of victims and sensitive
   victim information, including medical records, in contravention of the Court’s orders in the
   above-captioned case. (See Protective Order, ECF Docket Entry No. 1001; Order
   Designating Victim Discovery Material, ECF Docket Entry No. 838.) This morning, the
   undersigned contacted Steven A. Metcalf II, Esq., counsel for Raniere, who stated that
   counsel had intended to file the Raniere Filing under seal and that the public filing was a
   technical error. The government acknowledges that the first page of the Raniere Filing notes
   that it was to be filed under seal and credits counsel’s statement that the violation of the
   protective order entered by the Court was inadvertent. The government also expresses its
   grateful appreciation to the Court for ordering the prompt removal of the Raniere Filing from
   the public docket.
Case 1:18-cr-00204-NGG-VMS Document 1020 Filed 03/23/21 Page 2 of 2 PageID #: 19233




                  Nonetheless, the government remains troubled by the violation of the
   protective order. The violation is particularly concerning in light of Raniere’s prior
   opposition to the designation of victim identities and declarations of loss as “Victim
   Discovery Material” within the scope of the protective order entered by the Court. (See
   Letter Filed by Paul DerOhannesian II, Esq., ECF Docket Entry No. 836.) In addition, as
   noted in the Raniere Filing, on February 26, 2021, another lawyer for Raniere attempted to
   mail Exhibit A of the government’s restitution submission to the defendant, in violation of
   the Court’s protective order, given that Exhibit A contained Victim Discovery Material.
   Upon learning of that violation from legal counsel at the jail facility in which Raniere is
   housed, the undersigned immediately sent an email to all counsel of record for the defendant
   reminding counsel that Exhibit A contained protected victim discovery material. Counsel for
   Raniere assured the government that the attempt was in error and would not recur. 1

                  In light of the egregious nature of the violation—resulting in the public filing
   of victim names and sensitive medical information—the government respectfully requests
   that any future violation of the protective order result in sanctions.



                                                       Respectfully submitted,

                                                       MARK J. LESKO
                                                       Acting United States Attorney

                                               By:      /s/
                                                       Tanya Hajjar
                                                       Assistant U.S. Attorney
                                                       (718) 254-7000


   cc:           Counsel of Record (by ECF and email)
                 United States Probation Officer Jennifer G. Fisher (by email)




          1
                 The Raniere Filing states that “none of Mr. Raniere’s current counsel was
   involved in sending these documents.” Raniere Filing at 31. The government notes,
   however, that the apparent sender, Mr. DerOhanessian, Esq., remains counsel of record for
   Raniere.


                                                  2
